Case 1:15-cr-00095-WFK Document 445 Filed 01/17/20

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FROM: 85808053

TO:

SUBJECT: ATTN: Hon. William F. Kuntz, |!
DATE: 01/13/2020 08:20:28 PM

 

Dilkhayot Kasimov

#85808-053 BRO KLYN OFFICE
MDC Brooklyn ~~
Metropolitan Detention Center

P.O. Box 329002

Brooklyn, NY 11232

Criminal Docket: 15-95 (WFK) January 13, 2020

The Honorable William F. Kuntz, Il
United States District Judge
Eastern District of New York

225 Cadman Plaza East
Brooklyn, New York, 11210

Re: Letter Motion for Appointment/Substitution of New Counsel
| respectfully request that this Honorable Court now enter an Order directing my currently appointed defense counsel --
Elizabeth Macedonio, Kelley Sharkey and Abraham Rubert-Schewel -- be withdrawn from representing me in this case, and

thereafter, replace them with new attorneys to represent me in the above captioned matter.

The reason for my request is that irreconcilable differences have transpired between me and my Counsel. So | have lost the
belief that my counsel represents my best interests.

| humbly ask the Honorable Court to appoint Grainne O'Neill and Christopher Madiou as a new defense counsel for me. Both of
the attorneys | am requesting to be appointed are CJA attorneys. In addition, Before my trial started in September 2019 | had
met Ms. O'Neill. She was interested in my case and wanted to represent me but | did not have the funds required for her
services. | later discovered she was a CJA attorney.

Your Honor, | recognize this is a busy time of the year. | sent a letter to the Court dated 11/25/2019 at the start of this issue. If |
could have a response from the Court it would be most helpful.

| express my gratitude in advance for your time and patience in reference to my above mentioned request.
Thank you,

Dilkhayot Kasimov
#85808-053 1/13/2020
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